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                          UN ITED STA TES D ISTRICT CO URT FOR THE
                               SO UTHERN D ISTRICT OF FLO RID A
                                        M iamiDivision

                      Case N um btr: IS-ZO8B7-C IV -M AR TIN EZ-G O O D M AN

  SH IRLEY RILEY,

         Plaintiff,

  VS.



  CAD IVALCOU OM TION d+/aCAM IVAL
  CRU ISE LIN E,

         Defendant.
                                               /

          O RDER RESETTING TRIAL AND CERTAIN PRETRIAL DEA DLINES

         THIS CAU SE cam e before the Courtupon a sua spontereview ofthe record. A fter

  carefulconsideration,itishereby:

         O RD ER ED A N D A D JU DG ED that

                The previoustrialdate ishereby CANCELLED.

                Trialis rescheduled to com m ence during the two-w eek period beginning

  M ondav.January 25.2016 before Jose E.M artinez,United StatesD istrictJudge,400 N .M iam i

  Avenue,Courtroom 10-1,M iami,Florida. Calendarcallwillbe held on Thursdav.January 21.

  2016.at 1:30 p.m .atthe sam e location.

                The followingpretrialdeadlinesarereset:

                01-19-2016 Proposedjointjuryinstructions,proposedjointverdictform,
                                and/or proposed findings offactand conclusions of1aw m ustbe
                                filed.

                01-20-2016      Proposed voirdire questionsm ustbe filed.
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                01-21-2016      Deposition designationsm ustbefiled.

  TheCourt'sOrderSettingCivilTrialDateandPretrialSchedule (ECF No.19qshallothem ise
  rem ain in fullforceandeffect.

        DONE AND ORDERED in ChambersatM iam i,Florida,this$V dayofNovember, 2015.



                                                        JOSE .M A RTW EZ
                                                        > 1    STA TES DIST CT JU D GE

  Copiesprovided to:
  M agistrate Judge G oodm an
  A llCounselofRecord




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